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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

In re                                         )
                                              )      Case No. 18-10543-TBM
RAYMOND S. GIBLER                             )
                                              )      Chapter 11
               Debtor.                        )


               NOTICE OF APPEARANCE AND REQUEST FOR NOTICE


Pursuant to Rule 9010(b) of the Federal Rules of Bankruptcy Procedure, the undersigned hereby
gives notice of his appearance on behalf of AMERICAN CONTRACTORS INDEMNITY
COMPANY and further requests that all notices, pleadings and other documents filed and/or
served in this case, including all such notices described in Rule 2002 of the Bankruptcy Rules or
given pursuant to the Local Bankruptcy Rule 9013-1, be served upon the following:

                                           L. Jay Labe
                                       Allen & Curry, P.C.
                               1125 Seventeenth Street, Suite 1275
                                       Denver, CO 80202
                                         (303) 955-6185
                                     jlabe@allen-curry.com

Please take further notice that the foregoing request includes the notices and papers referred to in
Rule 2002 of the Federal Rules of Bankruptcy Procedure and also includes, without limitation,
notices of any orders, pleadings, motions, applications, complaints, demands, hearings, requests
or petitions, answering or reply papers, memoranda and briefs in support of the foregoing and any
other document brought before this Court with respect to these proceedings, whether formal or
informal, whether written or oral, and whether transmitted or conveyed by mail, delivery,
telephone, telegraph, telex, or otherwise.
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       Respectfully submitted this 28th day of March, 2018.

                                               ALLEN & CURRY, P.C.



                                               s/ L. Jay Labe
                                               L. Jay Labe
                                               1125 Seventeenth Street, Suite 1275
                                               Denver, CO 80202
                                               303-955-6185
                                               jlabe@allen-curry.com


                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 28th day of March, 2018, I caused to be electronically filed the
foregoing NOTICE OF APPEARANCE AND REQUEST FOR NOTICE with the Clerk of the
Court using the CM/ECF system, which will send notification of such filing to all counsel of record
as follows:

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                                               s/ L. Jay Labe



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